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      1   LAW OFFICES OF JOHNNY L. GRIFFIN III
          JOHNNY L. GRIFFIN III (SBN 118694)
      2   SILKY SAHNAN (SBN 242850)
          1010 F STREET, SUITE 200
      3   SACRAMENTO, CA 95814
          Telephone: (916) 444-5557
      4   Facsimile: (916) 444-5558
      5
          Attorney for Defendant
      6   Betty Betula Gonzalez
      7
                                  IN THE UNITED STATES DISTRICT COURT
      8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
      9

     10
          UNITED STATES OF AMERICA,                       ) Case No.: 1:04-CR-05278 OWW
     11                                                   )
                         Plaintiff,                       ) ORDER TO RECONVEY PROPERTY
     12                                                   )
                 vs.                                      ) DATE: July 10, 2007
     13                                                   )
          Betty Betula Gonzalez                           )
     14                                                   ) Hon. Oliver W. Wanger
                         Defendant.                       )
     15                                                   )
                                                          )
     16

     17          Defendant, by and through her undersigned counsel, Johnny L. Griffin, III, hereby move
     18
          the Court for an order authorizing the Clerk of the United States District Court for the Eastern
     19
          District of California to reconvey the property posted to secure Defendant’s pre-trial release,
     20
          back to Maria Gonzales and Manual Deras. As of April 10, 2006, all charges against Defendant
     21
          have been terminated. Accordingly, the property should be transferred back to Maria Gonzales
     22
          and Manual Deras.
     23
          //
     24
          //
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                  Case 1:04-cr-05278-DAD Document 337 Filed 07/13/07 Page 2 of 2


      1          The property information is as follows: (1) Address: 1921 Yellow Pine Avenue Modesto,
      2
          California 95135. (2) Receipt number: 200569 (3) Deed number: 2004-0180998-00.
      3

      4
                 Respectfully submitted,
      5

      6   Dated: July 10, 2007                      /s/ Johnny L. Griffin, III
                                                    JOHNNY L. GRIFFIN, III
      7                                             Attorney for Defendant
                                                    Betty Betula Gonzalez
      8

      9

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     12          IT IS SO ORDERED.

     13

     14          Dated: _7/12/2007_______           _/s/ Oliver W. Wanger_________
                                                    HON. OLIVER W. WANGER
     15                                             United States District Judge

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